Case 1:23-cv-11195-SHS-OTW   Document 323-1   Filed 11/19/24   Page 1 of 12




                         EXHIBIT 1
 Case 1:23-cv-11195-SHS-OTW                      Document 323-1                       Filed 11/19/24        Page 2 of 12




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November 8, 2024

VIA ELECTRONIC MAIL

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                 Re:      The New York Times Company v. Microsoft Corporation, et al.,
                          Case No.: 23-cv-11195-SHS

Counsel:

       I write regarding OpenAI’s Responses and Objections to The Times’s Second Set of
Requests for Production of Documents, served on July 12, 2024, and OpenAI’s Responses and
Objections to The Times’s Third Set of Requests for Production of Documents, served on
September 9, 2024. This letter follows up on the parties’ meet and confers about these Sets of
Requests, including videoconferences on August 26, August 29, October 18, and October 24, as

                                                             1
 Case 1:23-cv-11195-SHS-OTW              Document 323-1        Filed 11/19/24      Page 3 of 12




well as the parties’ written correspondence about these Requests, including July 31 and August 20
letters, and email correspondence on October 4, October 11, October 15, October 28, and
November 1.

       Consistent with the Court’s instructions during the October 30 hearing, and the Court’s
November 1 Order, The Times intends to file any motion concerning unresolved disputes by
November 19, 2024. The Times is available to meet and confer on November 12, November 13,
and/or November 14, and hopes to resolve these disputes without the need for motion practice.

   I.       OpenAI Responses that Should Be Updated Based on Related Agreements

      For many RFPs, OpenAI previously limited its responses to specific models and products,
namely, the “models used for ChatGPT”, and/or “ChatGPT” itself.

        The parties have now agreed that OpenAI will produce non-custodial documents
concerning GPT-2 and GPT-3, “as [OpenAI] has for other models,” and that OpenAI will produce
custodial documents for GPT, GPT-2, and GPT-3. Dkt. 262 at 2. OpenAI has also agreed to
produce documents concerning additional products. See Dkt. 302 (OpenAI confirming that the
following products are now subject to discovery “ChatGPT (including Browse (f/k/a Browse with
Bing)), the OpenAI API, SearchGPT, and Microsoft’s Copilot,” as well as “the specific third-party
Custom GPTs referenced in Plaintiffs’ Complaints and in their Motion”).

        Please confirm that OpenAI will revise its RFP responses accordingly, including for at least
RFPs 24, 30, 34, 39, 43, 49, 61, 72, and 89. These are responses where OpenAI previously limited
its productions to documents concerning the “models used for ChatGPT” and/or “ChatGPT” itself.
These responses and productions should now be updated in light of parties’ agreements about the
additional models and products subject to discovery.

   II.      Outstanding Document Disputes

         The Times below summarizes the current status of several disputed RFPs.


        RFP 2 (“Documents You have gathered to submit or have submitted to any legislative or
executive agency, committee, or other governmental entity in the United States that concern or
relate to the allegations in the Complaint”)

        After the September 12 hearing, OpenAI produced limited Interrogatory responses that
OpenAI had provided in response to the FTC’s Civil Investigative Demand No. 232-3044. See
OPCO_NEWS_0621960; OPCO_NEWS_0622046. On October 11, we emailed you seeking
additional responses to the same FTC Demand. Specifically, we requested that OpenAI produce
its responses to FTC Interrogatory Nos. 2, 3, 5, 6, 7, and 10. OpenAI has not yet responded to our
request. Please confirm whether OpenAI agrees to produce these additional responses.

       In addition, OpenAI should produce documents related to its discussions with the
California Attorney General concerning OpenAI’s corporate structure and nonprofit status. See

                                                 2
 Case 1:23-cv-11195-SHS-OTW              Document 323-1         Filed 11/19/24      Page 4 of 12




https://www.reuters.com/technology/openai-talks-with-california-become-for-profit-company-
bloomberg-news-reports-2024-11-04/. Please confirm whether OpenAI will do so.

       We also ask that OpenAI be prepared to discuss during our meet and confer other
proceedings in which OpenAI has submitted documents relevant to the issues in this case, so we
can evaluate the proper scope for OpenAI’s productions in response to this RFP.


        RFP 16 (“Documents concerning the decision not to release Training Datasets or other
information for Defendants’ Text Generation AI Model(s) after GPT-3 (including all versions
thereof, such as GPT-4 Turbo and GPT-4o”)

       OpenAI has so far refused to produce any documents in response to this Request, which is
relevant to, among other issues, OpenAI’s anticipated fair use defense. Please confirm whether
OpenAI will produce the requested documents.


       RFP 17 (“Documents concerning the compilation, acquisition, and curation of Training
Datasets including: (i) communications regarding paying for or obtaining permission to use any
Training Datasets or content therein, ii) communications with Training Dataset creators, including
Common Crawl, and iii) communications concerning the relevance and impact of paywalls on
building Training Datasets or gathering training data.”)

        The parties’ related discussions about RFP 6 have narrowed the scope of the dispute. But
there remains a dispute because OpenAI has not clarified whether it is producing communications
with Training Dataset creators, including Common Crawl. Please confirm OpenAI is doing so.

       Please also confirm that the parties’ agreements regarding other RFPs will cover item (iii)
from this Request (regarding paywalls), including RFPs 1, 3, 44 and 53.


       RFP 23 (“Documents concerning all steps taken or contemplated to train, instruct,
program, or refine Defendants’ Generative AI Products and Services using Times Content or
Journalism content”)

      The Times accepts OpenAI’s offer to resolve this RFP, as memorialized in Max Levy’s
October 15 email, subject of course to the parties’ global dispute about the relevant products.

   “OpenAI also agrees to conduct a reasonable search for and produce non-privileged documents
   in its possession, custody, or control concerning (i) how and why OpenAI curates and uses
   different types of data to train OpenAI’s relevant models; and (ii) the relative value of types of
   data for use in the relevant models. Further, OpenAI will conduct a reasonable search for and
   produce any non-privileged documents in its possession, custody, or control describing
   whether and how the relevant models were trained using articles published by The New York
   Times. Finally, OpenAI will conduct a reasonable search for and produce any non-privileged



                                                 3
 Case 1:23-cv-11195-SHS-OTW               Document 323-1         Filed 11/19/24      Page 5 of 12




   documents in its possession, custody, or control sufficient to show OpenAI's understanding of
   how the models used for ChatGPT learn from the data used to train the model.”


   RFP 24 (“Documents concerning any analyses, studies, measurements, testing,
experimentation, assessments, or other evaluation of the incremental value of including Journalism
content, including Times Content, in Defendants’ Training Datasets”)

         OpenAI has so far only agreed to produce documents “sufficient to show OpenAI’s
evaluation or assessment of the value of including Journalism content in the training datasets used
to train the models used for ChatGPT.” Given that the use of Journalism to train Defendants’
generative AI models is a central issue in the case, a “sufficient to show” limitation is improper
for this request. OpenAI should also produce custodial documents found pursuant to a reasonable
search. Further, OpenAI should withdraw its limitation to documents concerning “models used for
ChatGPT.” Please confirm OpenAI will do so.


       RFP 28 (“Documents concerning all measures taken to conceal or obscure Defendants’
use of Times Content during any stage of the development of each of Defendants’ Generative AI
Products and Services”)

        OpenAI on October 15 offered to produce “any non-privileged documents in its possession,
custody, or control concerning whether to remove from datasets on which the relevant models
were trained the following categories of information with respect to copyrighted works:
authorship, date of publication, publishing entity, title, copyright notices, and terms and conditions
for use.”

         The Times’s counter-proposal is as follows. For both model training and RAG, please
produce documents concerning the removal or alteration, if any, of copyright management
information, including: information regarding authorship, date of publication, publishing entity,
title, copyright notices, and terms and conditions for use. This aspect of the counter-proposal would
also resolve the parties’ pending dispute over RFP 18. See Dkt. 283. In addition, OpenAI should
produce documents concerning whether OpenAI intended, planned, or made any effort to conceal
or withhold from disclosure the source of its training data or the source of content used for RAG.
The addition of “whether” to this sentence should resolve any concerns about the word “conceal,”
while also clarifying that we seek documents regarding any withholding of this information even
if OpenAI would not characterize it as concealment.




                                                  4
 Case 1:23-cv-11195-SHS-OTW              Document 323-1         Filed 11/19/24      Page 6 of 12




        RFP 35 (“Documents concerning any changes made to Defendants’ Generative AI Models
or Generative AI Products and Services from 2021 to present, including any logs showing changes,
documents relating to ablation or ‘unlearning,’ (i.e. the ability to remove memorization, content,
or other effects of specific parts of the Training Datasets from the models), and documents and
communications concerning any changes to the models made or considered, including in response
to claims of copyright infringement or improper use of data.”).

       The Times is willing to narrow this Request to the portion seeking documents and
communications concerning any changes to the models made or considered in relation to ablation
or unlearning or in response to claims of copyright infringement or improper use of data. Please
confirm OpenAI will produce documents in response to this narrowed version of the Request.


        RFPs 39-41: These Requests seek documents concerning problematic behaviors displayed
by Defendants’ products and services. See RFP 39 (“Documents concerning the study, testing, or
evaluation of Defendants’ Generative AI Products and Services and Generative AI Models for
hallucinations, memorization, and any problematic behaviors”); RFP 40 (“Documents concerning
the prevalence of outputs that are verbatim copies of text included in Training Datasets”); RFP 41
(“Documents or surveys related to users’ trust in the accuracy or veracity of information contained
in outputs of Defendants’ Generative AI Products and Services and how users respond to
disclaimers regarding the accuracy or veracity of information contained in such outputs”).

       These Requests are relevant to, among other issues, The Times’s misappropriation claim,
trademark dilution claim, and The Times’s harm allegations. OpenAI has so far refused to produce
any documents in response to these Requests. Please confirm whether OpenAI will do so.


       RFP 42 (“Documents concerning Defendants’ efforts and abilities to monitor, log, analyze,
quantify, assess, evaluate, or review user queries within any Generative AI Products and Service”).

        OpenAI has so far only agreed to produce “documents in its possession, custody, and
control sufficient to show OpenAI’s efforts that are responsive to this request.” Please confirm this
production will include information about OpenAI’s retention policies for this information and
data.

        In addition, why did OpenAI exclude the word “abilities” from its response? OpenAI
should produce documents concerning its capabilities, in addition to any efforts specifically
undertaken. OpenAI should also produce custodial documents in response to this Request. The
parties are separately negotiating OpenAI’s production of log data, but those negotiations should
not prevent OpenAI from collecting and producing responsive documents. To the contrary, such
document productions will inform the parties’ discussions about data productions. We understand
OpenAI will be providing an update by November 8 on its investigations into data productions.
Based on those investigations, please confirm whether OpenAI will produce documents in
response to this Request.




                                                 5
 Case 1:23-cv-11195-SHS-OTW             Document 323-1         Filed 11/19/24     Page 7 of 12




        RFP 43 (“Any surveys, studies, analyses, or statistics on patterns and practices any of
Defendants’ Generative AI Products and Services, including any mentions of The New York
Times, such surveys, studies, analyses, or statistics regarding user engagement within user queries
and/or inclusion of links to Times Content in user queries or outputs”)

         OpenAI agreed to produce “documents in its possession, custody, and control sufficient to
show OpenAI’s works that are responsive to this request.” OpenAI later clarified in its August 20
letter that the term “OpenAI work” refers to any “‘surveys, studies, analyses, or statistics on
patterns and practices’ conducted, generated, or commissioned by OpenAI relating to ChatGPT.”
OpenAI also clarified in the same letter that “to the extent such works were prepared by an entity
other than OpenAI but is within OpenAI’s possession, custody or control, they would be included.”

       As noted above, supra Section I, these productions should now include documents
concerning the additional products that OpenAI has agreed will be subject to discovery. The only
other remaining disagreement concerns whether OpenAI will produce custodial documents in
response to this Request. Please confirm OpenAI will do so.


       RFPs 45, 52: These Requests seek information about OpenAI logs. See RFP 45 (“Query,
session, and chat logs reflecting or analyzing user sessions related to Times Content within
Defendants’ Generative AI Products and Services, including, for each session, user queries paired
with responses to those queries”); RFP 52 (“Documents concerning the extent to which
Defendants’ Generative AI Products and Services direct users to Times Content in response to user
queries, including by providing outputs that directly quote Times Content, contain a URL that is
intended to direct the user to Times Content, or reference The Times or one of its contributors,
authors, contractors, or employees”).

        OpenAI on November 1 took the position that “responsive information for both these RFPs
will be contained in logs, which are the subject of [an] ongoing discussion” between Jen Maisel
and Paven Malhotra. But that does not answer whether OpenAI also has documents responsive to
these Requests. Does it?


        RFP 47 (“Documents concerning user engagement metrics, events, and analytics data
collected during each user session, including duration, the number of prompts or queries that a
user inputs per session, click-through data, fallback rates, and bounce rates”).

       The parties are close to an agreement on this Request. OpenAI has as of October 24 agreed
“to produce responsive, non-privileged documents in its possession, custody, and control, if any,
concerning the following user engagement metrics: time-spent, average number of prompts, click-
through data, and bounce rate.”

        The remaining dispute is whether OpenAI will also produce documents concerning
fallback rates. Our October 28 email provided more information about fallback rates, which are
relevant to, among other issues, The Times’s misappropriation claim. This discovery addresses


                                                6
 Case 1:23-cv-11195-SHS-OTW             Document 323-1         Filed 11/19/24     Page 8 of 12




The Times’s allegation that Defendants’ products usurp commercial opportunities for The Times,
including for Wirecutter.

       Please confirm OpenAI will produce the requested documents.


        RFP 49 (“Documents concerning Defendants’ monitoring, tracking, and knowledge of
investigations into whether Defendants’ AI Models contain copyrighted content, including Times
Content.”).

        OpenAI initially only agreed to produce documents “sufficient to show OpenAI’s
knowledge, prior to the inception of this lawsuit, of whether New York Times content was included
in a dataset used for any model used for ChatGPT.” OpenAI on August 20 later agreed to remove
the “sufficient to show” limitation. Please confirm that by withdrawing this limitation, OpenAI is
agreeing to produce custodial documents in response to this request.

       Assuming that is the case, there are two remaining issues. First, OpenAI should also
produce documents concerning its knowledge of any copyrighted content (not just Times content),
including Daily News Plaintiffs’ content and the Center for Investigative Reporting’s content.
Second, the time period should not be limited to “prior to the inception of this lawsuit.” Please
confirm that OpenAI will withdraw these two limitations.


        RFP 54 (“Documents concerning any public statements made by You or Your employees
relating to this litigation, including: (i) Your claim that the New York Times ‘hacked’ Defendants’
Generative AI Products, ii) Your contention that Times Content is ‘not significant for the model’s
intended learning’ and that it did not ‘meaningfully contribute to the training of [Your] existing
models,’ iii) any contention by You that You can modify Defendants’ Text Generation AI Models
to minimize the ‘regurgitation’ of copyrighted content, and iv) Your efforts to use artificial
intelligence to ‘monetize news and other published content.’”)

       Your October 15 email offered to produce documents regarding certain public statements
that we identified in our October 4 email. But OpenAI still refuses to produce documents
concerning the specific statements mentioned in the RFP that were included in OpenAI’s January
8, 2024 publication titled “OpenAI and Journalism.” Specifically, OpenAI is refusing to produce
documents concerning statements (ii) and (iii) above. We understand that the parties are at an
impasse on these aspects of the Request.


        RFP 57 (“Documents related to the use of Defendants’ Generative AI Products and
Services, including by third parties, to promulgate misinformation, disinformation, or poor quality
‘pinkslime’ journalism”)

       OpenAI has so far refused to produce any documents in response to this Request, which is
relevant to, among other issues, The Times’s harm allegations. To aid your investigation, we can
point you to this News Guard study which discusses “AI-generated news and information sites

                                                7
 Case 1:23-cv-11195-SHS-OTW             Document 323-1        Filed 11/19/24     Page 9 of 12




operating with little to no human oversight.” https://www.newsguardtech.com/special-reports/ai-
tracking-center/. Please confirm OpenAI will produce documents in response to this Request.


       RFP 58 (“Documents concerning Your review and approval process for 1) custom GPTs
made available in Your Custom GPT Store, and 2) third-party ChatGPT plug-ins made available
in Your ChatGPT plug-in store, including custom GPTs and plug-ins designed to remove paywalls,
provide Journalism, or that otherwise reference The Times or Journalism.”)

        OpenAI responded that it will only produce documents “sufficient to show OpenAI’s
review and approval process for the GPT Store and third-party ChatGPT plug-ins that it locates
pursuant to a reasonable and diligent search.” Please confirm that OpenAI’s production will
include documents sufficient to show its review and approval process for custom GPTs and plug-
ins designed to remove paywalls and/or provide Journalism.


       RFP 60 (“Documents concerning Defendants’ licensing or use of Bing’s search index”)

        OpenAI has taken the position that it will not produce any documents in response to this
Request because “it has not used Bing Index data to train any GPT model used for ChatGPT.” As
you know, this case is not limited to training, but instead involves the use of Times content in
Defendants’ generative search products as well. See Compl. ¶ 108. Does OpenAI use the Bing
Index to operate any generative AI products? Also, has OpenAI used Bing Index data to train other
models, which are now in scope given the parties’ separate agreement with respect to the motion
to compel filed at Dkt. 128 (dispute regarding GPT, GPT-2, and GPT-3)? We asked these questions
in our July 31, 2024 letter, and OpenAI has still not answered them. Please do so.


        RFP 64 (“Documents concerning competition and comparisons between Defendants’
Generative AI Products and Services and those of other companies, including (i) how Generative
AI tools enable You to compete in search, (ii) how Defendants’ use of copyrighted materials can
help You compete with Google, (iii) any analyses and projections of how increasing Your search
market share will boost Your revenue, (iv) the benefits of being a search or knowledge
“destination,” and (v) Google’s reduction of search referral traffic (via SGE and direct answers)
and stated goal of keeping users on its site.”).

       OpenAI has so far refused to produce any documents in response to this Request, which is
relevant to, among other issues, fair use factor four, quantifying OpenAI’s unjust enrichment, and
harm to The Times. The Times stands by this Request and requests that OpenAI produce
responsive documents. Please confirm whether OpenAI will do so.




                                                8
 Case 1:23-cv-11195-SHS-OTW              Document 323-1        Filed 11/19/24      Page 10 of 12




        RFP 66 (“Documents concerning fundraising efforts related to Defendants’ Generative AI
Products and Services, including any investor solicitation efforts and any solicitation of charitable
or in-kind contributions.”)

        Our October 4 email offered to narrow this Request to “documents relating to (i) financial
data, including projections; (ii) OpenAI’s plans and strategies to commercialize and/or monetize
its products; (iii) OpenAI’s non-profit structure; (iv) OpenAI’s use of copyrighted content; and (v)
potential or existing lawsuits or investigations that are related to any of the issues in the
Complaint.”

        Your October 15 email stated that “OpenAI has already agreed to conduct a reasonable
search for non-privileged documents in its possession, custody, or control addressing most of the
substantive issues your letter identifies. See, e.g., RFP Nos. 70-71 (seeking documents related to
certain financial data), RFP Nos. 10, 15, 68 (seeking documents related to commercialization of
OpenAI’s products), RFP No. 14 (seeking documents concerning OpenAI’s non-profit structure),
RFP No. 3 (seeking documents concerning the use of copyrighted material), and RFP No. 4
(seeking documents concerning claims of copyright and trademark infringement).”

       We interpret your October 15 email to mean that OpenAI has already agreed to produce
the documents requested in items (i), (ii), (iii), and (iv) from our October 4 email. Please confirm.

       OpenAI, however, still refuses to produce documents regarding item (v). The parties are at
an impasse as to this aspect of the Request.


        RFPs 67, 70, 71, 72, 88: These Requests seek financial information that is relevant to, at a
minimum, The Times’s disgorgement damages. See RFP 67 (“Documents sufficient to show (i)
projected revenue streams from Defendants’ Generative AI Products, (ii) past, present, and
anticipated future subscriber numbers, and (iii) product-level revenue data from 2021 to present”);
RFP 70 (“Documents concerning referral, affiliate, advertising, and paid search revenue generated
by Defendants’ Generative AI Products and Services.”); RFP 70 (“Documents sufficient to show
in detail, on a monthly, quarterly, or annual basis, the revenue and profit realized from Defendants’
Generative AI Products and Services, including documents sufficient to show in detail, by product
or service, the gross revenue generated, the costs, the gross profit margin, and the net profit
margin.”); RFP 72 (“Documents relating to the pricing of Defendants’ Generative AI Products
and Services in the United States, including price quotes, price lists, subscription amounts, price
announcements, and actual prices paid by customers.”); RFP 88 (“Documents sufficient to show,
on a monthly basis from December 2015 to present, 1) OpenAI’s valuation, 2) the number of
employees of each OpenAI entity named in the Times’s Complaint, and 3) OpenAI’s capital
investment, including the dollar amount of capital purchases, number of GPUs used, and other
capital expenses to train AI models”).

        OpenAI has so far refused to produce any documents in response to RFPs 67 and 88, which
seek discrete information that OpenAI can easily locate and produce. Please confirm OpenAI will
do so.


                                                 9
 Case 1:23-cv-11195-SHS-OTW              Document 323-1        Filed 11/19/24      Page 11 of 12




        For RFPs 70 and 71, OpenAI has only agreed to produce documents “sufficient to show
income from paid versions of ChatGPT.” Our July 31 letter asked a few questions about this
limitation, but OpenAI has not yet responded to these questions. Instead, OpenAI in its August 20
letter directed us to one document, OPCO_NYT_0192848. But this document simply lists the
“revenue” and “costs” for ChatGPT, without providing any of the more detailed information
requested by these RFPs. Please respond to the questions in our July 31 letter, and in doing so,
please keep in mind OpenAI’s recent agreement to expand discovery beyond just the ChatGPT
product. See Dkt. 302.

       For RFP 72, OpenAI simply provided a link to a website where it contends that “pricing
for ChatGPT is available.” Is that the only responsive document? Has OpenAI reconsidered this
response given its agreement that additional products are now in scope aside from just ChatGPT?


      RFP 69 (“Documents concerning Your policies or practices regarding public access to
Your governing documents, financial statements, and conflict of interest rules.”).

        Our October 4 email offered to narrow this Request to documents “sufficient to show” why
OpenAI in 2022 changed its practices regarding public access to OpenAI’s governing documents,
financial statements, and conflict of interest rules, as reflected in this article:
https://www.wired.com/story/openai-scrapped-promise-disclose-key-documents/. This Request is
relevant to, among other issues, OpenAI’s anticipated fair use defense.

       OpenAI on October 15 confirmed OpenAI is still refusing to provide any documents in
response to this Request, even as narrowed. The parties are at an impasse.


       RFP 82 (“All communications with third parties concerning Defendants’ fair use defense
to copyright infringement, including how any licensing deals would impact that defense”).

       OpenAI has so far refused to produce any documents in response to this Request, which is
highly relevant to OpenAI’s anticipated fair use defense. Please confirm OpenAI will produce
these documents.


      RFPs 86-87: These RFPs seek documents concerning synthetic datasets. See RFP 86 (“All
Documents concerning use of Generative AI Models to create Synthetic Datasets”); RFP 87 (“All
Documents concerning Your use or contemplated use of Synthetic Datasets, including to train
Your Generative AI Models.”).

        OpenAI has so far refused to produce any documents in response to these Requests, which
are relevant to The Times’s infringement claims. For example, any synthetic datasets created by
OpenAI by using Times content may themselves be infringing works. OpenAI’s development of
synthetic datasets is also relevant to fair use, including insofar as these synthetic datasets impact
the market for training data.



                                                 10
Case 1:23-cv-11195-SHS-OTW   Document 323-1   Filed 11/19/24   Page 12 of 12
